




Dismissed and Memorandum Opinion filed June 12, 2008








Dismissed
and Memorandum Opinion filed June 12, 2008.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00978-CV

____________

&nbsp;

THE STATE OF TEXAS, Appellant

&nbsp;

V.

&nbsp;

WILLIAM D. HARDIN, ET UX., ET AL., Appellees

&nbsp;



&nbsp;

On Appeal from
County Civil Court at Law No. 1

Harris County,
Texas

Trial Court Cause
No. 885715

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed October 31, 2007.&nbsp; On June 5, 2008, the
parties filed an agreed motion to dismiss the appeal in order to effectuate a
compromise and settlement agreement.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

Judgment rendered and Memorandum Opinion filed June
12, 2008.

Panel consists of Justices Frost, Seymore, and Guzman.





